                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
              v.                            )        3:15 CR 72–7
                                            )        Hon. Marvin E. Aspen
RACHEL MARIE SIEGELMAN,                     )
                                            )
              Defendant.                    )

                                            ORDER

MARVIN E. ASPEN, District Judge:

       We have received Defendant’s motion requesting an extension of time to file sentencing

documents. (Dkt. No. 437.) Defendant shall file all sentencing documents on or before

October 6, 2017 to allow the Court time to review and consider her materials before the

October 12, 2017 sentencing hearing. It is so ordered.




                                                     ____________________________________
                                                     Marvin E. Aspen
                                                     United States District Judge



Dated: September 28, 2017
       Chicago, Illinois




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